                    Case 3:04-cv-00251-HSO-ASH                                          Document 857-6                                            Filed 09/03/19                        Page 1 of 1

State of Mississippi                                         BUDGET REQUEST FOR FISCAL YEAR ENDING JUNE 30,2018
Form MER-1(2015)
                                                                                  REVISED:9/13/2016 12:38:19 PM                                                                                                  651-09
 Department ofChild Protection Services                              660 N. Street, Ste. 200                                                                               Dr. David A. Chandler
 AGENCY                                                              ADDRESS                                                                                               CHIEF EXECUTIVE OFFICER.
                                                                           Actual Expenses                  Estimated Expenses                      Requested For                   Requested Over/(Under)Estimated
                                                                             June 30,2016                      June30,2017                           June 30,2018
I. A.PERSONAL SERVICES                                                                                                                                                              AMOUNT                   I       PERCENT
      1.Salaries, Wages &Fringe Benefits(Base)                                                  63,199,527             91,945,533                         94,830,756 --.i
                                                                                                                                                                     =- --
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               a.Additional Compensation                                                 - gist
                                                                                         -              -vf1        -- --*---.....=-,._:,---1,_                                         =    "T-                  ,g,-.-
                                                                            fiii-.. -•.-. '                                  1. -1 7-I                                                                             -    4= --;
                                                                                                                                                                                                                      -,_,--..             7,
               b.Proposed Vacancy Rate(Dollar Amount)                                     --                     -iw-4 4,--,- -                                         -
                                                                                                                                                                        -,----.-_-.s.
                                                                                                                                                                                   ._       -'-
                                                                                                                                                                                            '           -        --r.1-4i%   ,
             c.Per Diem
         Total Salaries, Wages &Fringe Benefits                                           63,199,527                   91,945,533                         94,830,756                          2,885,223                                3.14%
         2,Travel
              a.Travel& Subsistence(In-State)                                              6,666,135                      7,364,242                        7,661,472                               297,230                             4.04%
               b.Travel & Subsistence(Out-Of-State)                                          174,575                          192,858                        238,221                                45,363                            23.52%
               c.Travel & Subsistence(Out-Of-Country)
         Total Travel                                                                      6,840,710                      7,557,100                        7,899,693                               342,593                             4.53%
   B.CONTRACTUAL SERVICE S(Schedule B)
       a.Tuition, Rewards & Awards                                                           851,985                      4,556.823_                       4,556,823
       b.Communications, Transportation & Utilities                                          163,493                        210,072                          210,072
       c.Public Information                                                                   39,443                        200,000                         200,000
       d.Rents                                                                             1,105,848                      1,751,587                        1,751,587
         e.Repairs & Service                                                                  45,142                            65,000                        65,000
         f Fees,Professional & Other Services                                             39,174,925                    34,429,330                        34,429,330
         g.Other Contractual Services                                                        753,925                      1,065,000                        1,065,000
         h.Data Processing                                                                 5,702,405                    19,071,156                        19,212,870                               141,714                             0.74%
         1 Other                                                                             298,239                          500,000                        500,000
   Total Contractual Services                                                            48,135,405                     61,848,968                        61,990,6112                              141,714                             0.23%
   C.COMMODITIES(Schedule C)
        a.Maintenance & Construction Materials & Supplies                                        847                             599                             599
        b.Printing & Office Supplies & Materials                                             643,094                         454,951                         454,951
        c.Equipment,Repair Parts, Supplies & Accessories                                     704,122                         498,124                         498,124
         d.Professional & Scientific Supplies & Materials                                      9,738                          6 889                            6.889
         e. Other Supplies & Materials                                                       211,658                        149,737                          149,737
   Total Commodities                                                                       1,569,459                      1,110,300                        1,110,300
   D.CAPITAL OUTLAY
        1.Total Other Than Equipment(Schedule D-1)
        2.Equipment(Schedule D-2)
            b. Road Machinery,Farm & Other Working Equipment
            c.Office Machines,Furniture, Fixtures & Equipment                                377,785                         606,500                         606,500
               d.IS Equipment(Data Processing & Telecommunications)                        1,591,846                      2,672,050                        2,672,050
               e,Equipment - Lease Purchase
               1. Other Equipment                                                            342,931                         709,800                         709,800
         Total Equipment(Schedule D-2)                                                    2,312,562                      3,988,350                         3,988,350
         3. Vehicles(Schedule 1)-3)                                                                                         85,277                                                             (85,277)                             (100.00%)
         4 Wireless Comm.Devices(Schedule 11-4)                                                                            5,000                               5,000
  E.SUBSIDIES,LOANS & GRANTS(Schedule E)                                                 48,837,930                  147,405,069                         147,405,069
TOTAL EXPENDITURES                                                                      170,895,593                  313,945,597                         317,229,850                          3,284,253                                1.05%
II.BUDGET TO BE FUNDED AS FOLLOWS:
  Cash Balance-Unencumbered
   General Fund Appropriation(Enter General Fund Lapse Below)                            79,418,151                    98,859,400                        100,545,038                          1,685,638                                1.71%
   State Support Special Funds                                                                                        13,436,099                          13,436,099
  Federal Funds                                                                          89,403,444                  197,022,661                         198,621,276                          1,598,615                                0,81%
                             Other Special Funds (Specify)
  Other                                                                                   1,870,451                    4,173,289                           4,173,289
   Casey Foundation                                                                           54,650                         121,934                         121,934
   Children Trust                                                                            148,897                         332,214                         332,214

   Less: Estimated Cash Available NextFiscal Period
 TOTAL FUNDS (equals Total Expenditures above)                                          170,895,593                 313,945,597                          317,229,850                          3,284,253                                1.05%
                                                                                                        -                                          _
 GENERAL FUND LAPSE                                                                                                                                                                         it.Wikt-Tatua         .ft;t4:=6T
III: PERSONNEL DATA
  Number ofPositions Authorized in Appropriation Bill        a.)Penn Full                      1,189                              1,536                        1,536
                                                             b.)Perm Part
                                                             c,) T-L Full                        417                                 417                        477                                    60                             1439%
                                                             d.)T-L Part
  Average Annual Vacancy Rate (Percentage)                   a.)Penn Full
                                                             b.)Penn Part
                                                             c.) T-L Full
                                                             d.) T-L Part                                                                                                                                                  -,...,
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Approved by:           David A.Chandler                                                             S                                                                                               8/U2016 4:47PM
                                Otticial of Board or Commission                                                                                                                Date:
Budget Officer:        Takesha Darby I Takesha.darby@mdcps.ms.gov                                                                                                              Title:               Deputy Commissioner
